  Case 2:14-cr-00517-TS Document 200 Filed 11/02/20 PageID.489 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

 UNITED STATES OF AMERICA,
                                                       MEMORANDUM DECISION AND
                         Plaintiff,                    ORDER DEYING WITHOUT PREJUDICE
                                                       MOTION FOR PRODUCTION OF
 v.                                                    DISCOVERY
 JESUS EDUARDO WIRICHAGA-                              Case No. 2:14-CR-517 TS
 LANDAVAZO,
                                                       District Judge Ted Stewart
                         Defendant.


        This matter is before the Court on Defendant’s Motion for Production of Discovery. In

that Motion, Defendant requests a copy of various docket entries as well as all police and witness

statements.

        28 U.S.C. § 753(f) provides that transcripts must be provided at the expense of the United

States in certain circumstances. “Under 28 U.S.C. § 753(f), an indigent defendant is entitled to

have the government pay the fees for a copy of his transcript . . . only if he demonstrates that his

suit is not frivolous and that the transcript is needed to decide the issue presented by the suit.” 1

The Tenth Circuit has applied this standard to documents other than transcripts. 2 Defendant has

failed to make the required showing. Therefore, the Court must deny Defendant’s request. The


        1
         Sistrunk v. United States, 992 F.2d 258, 259 (10th Cir. 1993); see also 28 U.S.C. §
753(f) (“Fees for transcripts furnished in proceedings brought under section 2255 of this title to
persons permitted to sue or appeal in forma pauperis shall be paid by the United States out of
money appropriated for that purpose if the trial judge or a circuit judge certifies that the suit or
appeal is not frivolous and that the transcript is needed to decide the issue presented by the suit
or appeal”).
        2
        See Nortonsen v. Larimer Cty. Dist. Court, 178 F. App’x 783, 783 (10th Cir. 2006);
United States v. Lewis, 37 F.3d 1510 (10th Cir. 1994) (unpublished table decision).


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  Case 2:14-cr-00517-TS Document 200 Filed 11/02/20 PageID.490 Page 2 of 2




Court will do so without prejudice to allow Defendant the opportunity to make the proper

showing.

       It is therefore

       ORDERED that Defendant’s Motion for Discovery (Docket No. 198) is DENIED

WITHOUT PREJUDICE.

       DATED this 2nd day of November, 2020.

                                            BY THE COURT:



                                            Ted Stewart
                                            United States District Judge




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